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                                                                                    chapter               8
                             Industry Structure
                             and Performance


                                  Merely corroborative detail, intended to give artistic verisimilitude to
                                  an otherwise bald and unconvincing narrative.            —W. S. Gilbert
                             Theories on competitive and noncompetitive markets hold that the less compe-
                             tition a firm faces, the greater its market power: the ability to set price profitably
                             above marginal cost. Thus, market power (and hence price and profits) should
                             be higher in industries with substantial entry barriers that reduce actual and po-
                             tential competition. Economists conduct empirical investigations to test two of
                             the implications of these theories:
                                  1. How much market power do particular firms (industries) exercise?
                                  2. What are the major factors that determine market power?
                                 For many decades, economists have conducted structure-conduct-performance
                             (SCP) studies that concentrate on the second question, which concerns the rela-
                             tionship between market performance and market structure. Market performance
                             is the success of a market in producing benefits for consumers (for example, a
                             market is performing well if prices are near the marginal cost of production).
                             Market structure consists of those factors that determine the competitiveness of a
                             market. Market structure affects market performance through the conduct or be-
                             havior of firms. Traditionally, SCP researchers presume that market power or
                             performance can be measured relatively easily, and concentrate on the relation-
                             ship between performance and structure.
                                 In contrast, many economists now believe that readily available statistics of-
      268                    ten do not accurately reflect either market performance or structure. They rely
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                                                                      Theories of Price Markups and Profits      269


            on new data and techniques to better measure the degree of market power, and its rela-
            tionship to market performance.
                This chapter starts with a summary of the theories on the major market structures
            based on Chapters 3 through 7. Then, it turns to SCP research and discusses the tradi-
            tional SCP studies’ measures of performance and analyses of the relationship between
            performance and structure. The main findings are that many industries appear to de-
            part considerably from perfect competition, yet the degree of this departure apparently
            is not strongly related to industry concentration (the share of sales made by the largest
            firms in the industry), which presumably reflects the structure of the industry. Finally,
            the chapter examines modern studies of market power.



               Theories of Price Markups and Profits

            The relationship between price, p, and marginal cost, MC, and the existence and per-
            sistence of economic profits depend on the market structure (Table 8.1). In a compet-
            itive industry composed of identical firms with free entry, price equals short-run
            marginal cost; short-run profits, pSR, are either positive or negative; and long-run
            profits, pLR, are zero, where capital is charged at its rental price based on the competi-
            tive return (or normal return) that capital earns in a competitive industry. Even if firms
            are price takers (competitive), each firm’s profit equals zero in the long run only if each
            firm has equal access to the same technology and inputs. If some firms have lower costs
            than others, their profits will not be eroded completely by entry. Free entry guarantees
            only that the profit of the least profitable firm to enter (the marginal firm) equals zero
            in the long run.
                In monopoly or oligopoly, price exceeds marginal cost, profit in the short run is ei-
            ther positive or negative, and long-run profit is either zero or positive. In monopolistic
            competition, price is above marginal cost and entry drives long-run profit to zero.
                Based on the relationships summarized in Table 8.1, two important conclusions can
            be drawn. First, testing whether long-run profits are positive is a test of free entry, not
            of (perfect) competition. Free entry guarantees that long-run profits equal zero, but



             TABLE 8.1          Predictions Based on Market Structure

                                                       p ⫺ MC                     pSR                    pLR
             Competition                                  0                     ⫹ or ⫺                    0
             Monopolistic competition                     ⫹                     ⫹ or ⫺                    0
             Monopoly                                     ⫹                     ⫹ or ⫺                  ⫹ or 0
             Oligopoly                                    ⫹                     ⫹ or ⫺                  ⫹ or 0

             p ⫽ price, MC ⫽ marginal cost (short run), pSR ⫽ short-run profits, and pLR ⫽ long-run profits.
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      270               Chapter 8    Industry Structure and Performance


                        not that price equals marginal cost: Firms in a monopolistically competitive industry
                        may earn zero profit even though price is above marginal cost. To determine whether
                        price exceeds marginal cost, one must examine price data, not profit data. Second,
                        short-run profits reveal very little about the degree of competition in an industry be-
                        cause, in all market structures, short-run profits can be either positive or negative.
                           Although Table 8.1 shows only four market structures, many more structures are
                        possible. Moreover, for any given market structure, industries can differ substantially.
                        For example, an oligopoly with four firms may set prices differently than one with
                        only two firms. Generally, one would expect price-cost margins and profits to vary
                        with the number of rivals and the size of barriers to entry. It is this generalization that
                        provides the foundation for the SCP approach.


                           Structure-Conduct-Performance

                        Edward S. Mason (1939, 1949) and his colleagues at Harvard introduced the struc-
                        ture-conduct-performance (SCP) approach, which revolutionized the study of indus-
                        trial organization by introducing the use of inferences from microeconomic analysis.
                        In the SCP paradigm, an industry’s performance—its success in producing benefits for
                        consumers—depends on the conduct or behavior of sellers and buyers, which depends
                        on the structure of the market. The structure in turn depends on basic conditions such
                        as technology and the demand for a product.
                            Because the nature of these connections is usually not explained in detail, many
                        economists criticize the SCP approach for being descriptive rather than analytic.
                        George J. Stigler (1968) and others argued that economists, rather than employ the
                        SCP approach, should use price-theory models based on explicit, maximizing behavior
                        by firms and governments. Others suggested replacing the SCP paradigm with analy-
                        ses that emphasize game theory (von Neumann and Morgenstern 1944). We discuss
                        modern approaches later in this chapter.
                            Most of the earliest SCP works were case studies of an individual industry (for ex-
                        ample, Wallace 1937). The first empirical applications of the SCP theory were by Ma-
                        son’s colleagues and students, such as Joe S. Bain (1951, 1956). In contrast to the case
                        studies, these studies made comparisons across industries.
                            A typical SCP study has two main stages. First, one obtains a measure of performance
                        (through direct measurement rather than estimation) and several measures of industry
                        structure. Second, the econometrician uses cross-industry observations to regress the
                        performance measure on various measures of structure so as to explain the difference in
                        market performance across industries. We first discuss the measurement of performance
                        and structure variables and then examine the evidence relating performance to structure.

                        Measures of Market Performance
                        Measures of market performance try to provide an answer to our first key question as
                        to whether market power is exercised in an industry. Two different measures that di-
                        rectly or indirectly reflect the profits or the relationship of price to costs are commonly
                        used to gauge how close an industry’s performance is to the competitive benchmark:
